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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Leo Viaf do Me dine

(full name of the plaintiff/petitioner)

 

20 CV S644 (nrc)

-against- (Provide docket number, if available; if filing this with your
complaint, you will not yet have ad have a docket number.}

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{full namets} of the defendant(s}/respondent(s}) } _

PRISONER AUTHORIZATION PRO SE OFF ICE!

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By signing below, I acknowledge that:

(1) because I filed this action as a prisoner, I am required by statute (28 U.S.C. § 1915) to pay
the full filing fees for this case, even if ] am granted the right to proceed in forma pauperis
(IFP), that is, without prepayment of fees;

(2) if lam granted IFP status, the full $350 filing fee will be deducted in installments from my
prison account, even if my case is dismissed or I voluntarily withdraw it.

I authorize the agency holding me in custody to:

(1) send a certified copy of my prison trust fund account statement for the past six months
(from my current institution or any institution in which I was incarcerated during the past
six months);

2) calculate the amounts specified by 28 U.S.C. § 1915(b), deduct those amounts from m
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prison trust fund, and disburse those amounts to the Court.

This authorization applies to any agency into whose custody I may be transferred and to any
other district court to which my case may be transferred.

5/4/20 _Co"-

 

 

 

 

Date Signature
Me dene Leanatde QORO14
Name (Last, First, ME) Prison Identification #
Vo. vd astabe, (x "4 cclonalYoc\ ac ork, D A Sdracl hovseload, Polina \ Newuork 4.0% AY ~O4Y45,
Address City State | Zip Code

 

‘A “prisoner” is “any person incarcerated or detained in any facility who is accused of, convicted of,
sentenced for, or adjudicated delinquent for, violations of criminal law or the terms or conditions of
parole, probation, pretrial release, or diversionary program.” 28 U.S.C. § 1915(h).

SDNY Rev. 8/5/15
